Gary E. Hinck, P.A.
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(785) 267-7090

              IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                             DISTRICT OF KANSAS

In Re: Corey Lee Grame                                                      Case No. 16-41356-13
       and
       Dana Renee Grame

                       Debtor(s)

            MOTION FOR AN ORDER ALLOWING MODIFICATION
    OF PLAN BY ABATING PAYMENTS AND MOTION FOR ADDITIONAL FEES

       COMES NOW the Debtor(s) herein and move(s) this Court for an order allowing a

modification of the Chapter 13 Plan by abating all missed plan payments through June 30, 2018;

by resuming payments on or before July 31, 2018; and by paying the sum of $375 through the

plan to Gary E. Hinck, P.A., for the processing of this motion ($250) and for the cost of mailing

notice ($125) to 125 creditors and collectors. Counsel for the Debtor(s) certifies he has already

expended additional time in this case beyond the original fee request.

       The modification of the plan is necessary because one of the Debtor(s), had a temporary

decrease in income. The Debtor(s) cannot make-up missed plan payments, pay current plan

payments and pay reasonable living expenses without this modification.

       Debtor(s) proposes to extend the length of the Chapter 13 plan and or increase plan

payments as necessary in order that this Plan remain feasible. Any missed mortgage payments

will be added to the administrative claim to be paid with late fees and interest.

       WHEREFORE Debtor(s) respectfully request(s) this Court for an order abating all




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In the United States Bankruptcy Court for the District of Kansas
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missed payments through June 30, 2018, and allowing the payment of the fees requested through

the plan. The Trustee may submit an order of dismissal without further notice and hearing if

payments do not timely resume.




                                              GARY E. HINCK, P.A.

                                              By:s/ Gary E. Hinck
                                              Gary E. Hinck, #18270
                                              512 SW 6th Ave
                                              Suite 100
                                              Topeka, KS 66603-3150
                                              gh@kansasconsumer.com
                                              (785) 267-7090
                                              Attorney for Debtor(s)




                                 CERTIFICATE OF SERVICE

       The undersigned, Gary E. Hinck, does hereby certify that he caused a true and accurate
copy of the above and foregoing document to be electronically filed or deposited in the United
States mail, postage prepaid, addressed to all parties listed on the attached matrix, on the 20th day
of June, 2018.


                                                      s/ Gary E. Hinck
                                                      Gary E. Hinck, #18270
                                                      gh@kansasconsumer.com




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